                                  1                                                         Exhibit A

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                                                                                                                          Total Amount of
                                  3                                                            Total Amount of Fees
                                                                 Total Compensation and                                 Expenses Authorized
                                                                                               Authorized to be Paid                            Holdback Fees
                                                               Expenses Incurred for Period                            to be Paid Pursuant to
                                  4      Date                                                   Pursuant to Interim                               Amount
                                                    Period              Covered                                        Interim Compensation
                                       Statement                                               Compensation Order
                                                   Covered                                                                     Order
                                  5      Filed
                                                                                                                                                 Fees w/ No
                                                                                               Fees w/ No Objection          Expenses
                                  6                               Fees          Expenses                                                          Objection
                                                                                                     (@ 80%)                (@ 100%)
                                                                                                                                                  (@ 20%)
                                  7
                                                   03/01/20
                                       May 29,
                                  8     2020
                                                       -      $761,508.50       $1,223.40          $609,206.80               $1,223.40           $152,301.70
                                                   03/31/20
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                                 11
Simpson Thacher & Bartlett LLP




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     New York, NY 10017




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      425 Lexington Ave




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